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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



Criminal Case No. 20-cr-153-RBJ

UNITED STATES OF AMERICA,

             Plaintiff,

v.

2.    CARLOS FONG ECHAVARRIA,

           Defendant.
______________________________________________________________________

                                ORDER
______________________________________________________________________

      Upon consideration and for good cause shown:

      IT IS ORDERED that the Government be allowed to provide the Superseding

Indictment in the above-captioned case [dkt #5] and the warrant for the arrest of

defendant CARLOS FONG ECHAVARRIA [dkt #7] to foreign government authorities as

necessary for the arrest and extradition of ECHAVARRIA.

      IT IS ORDERED that Documents #5 and #7, the instant motion [dkt #9] and order

[dkt #10], as well as docket 20-cr-153-RBJ and all the documents filed thereon, will

remain RESTRICTED from public view.

      IT IS SO ORDERED on this 28th         day of January, 2021.



                                  BY THE COURT:




                                  HON. R. BROOKE JACKSON
                                  UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLORADO
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